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          24-2386                            To Be Argued By:
                                             MÓNICA P. FOLCH


     United States Court of Appeals
                FOR THE SECOND CIRCUIT
                   Docket No. 24-2386


               UNITED STATES OF AMERICA,
                                           Plaintiff-Appellant,
                            —v.—

       EZ LYNK, SEZC, PRESTIGE WORLDWIDE SEZC,
            THOMAS WOOD, BRADLEY GINTZ,
                                         Defendants-Appellees.

    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
        FOR THE SOUTHERN DISTRICT OF NEW YORK



          BRIEF FOR PLAINTIFF-APPELLANT


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    United States Court of Appeals
             FOR THE SECOND CIRCUIT
                Docket No. 24-2386



             UNITED STATES OF AMERICA,
                                   Plaintiff-Appellant,
                        —v.—

    EZ LYNK, SEZC, PRESTIGE WORLDWIDE SEZC,
          THOMAS WOOD, BRADLEY GINTZ,
                                 Defendants-Appellees.


         BRIEF FOR PLAINTIFF-APPELLANT




               Preliminary Statement
   The EZ Lynk System, manufactured and sold by
the defendants in this action, disables vehicles’ emis-
sions controls. The system consists of a physical device
to plug into vehicles to install software that renders
vehicles’ computerized emissions controls inoperative,
a cloud-based platform that hosts emissions-control
defeating software, and a smartphone app that con-
nects the two. The government sued the makers of the
EZ Lynk System, and the district court correctly deter-
mined that the government stated a claim that the EZ
Lynk System is a “defeat device”—namely, a device
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that defeats emissions controls—whose sale and man-
ufacture are prohibited by the Clean Air Act.
   But the district court then dismissed the govern-
ment’s case. In the district court’s view, the EZ Lynk
System is an “interactive computer service” that
merely “publishes” emissions-control defeating soft-
ware as third-party content—and therefore, under sec-
tion 230 of the Communications Decency Act, its mak-
ers are immunized from liability, even though the
United States adequately alleged that what they make
and sell is an illegal defeat device.
    That was error. As the government alleged in this
action, the makers of the EZ Lynk System are not
merely passive hosts of third-party content on a web-
site. They have manufactured and sold tens of thou-
sands of EZ Lynk Systems, whose principal component
is a patented hardware device designed with particu-
lar technical functionalities that enable it to access
and reprogram vehicles’ emissions controls. They
maintain an online forum where drivers regularly post
about “delet[ing]” their vehicles’ emissions controls us-
ing the “ez lynk install” which “work[s] flawlessly” to
deliver “huge improvements”—actively encouraged
and assisted by EZ Lynk personnel. While one part of
the EZ Lynk System is a cloud-computing platform
where customers can download emissions-control
defeating software created by third parties, the instal-
lation of that software depends on the whole EZ Lynk
System, including the physical device that must be
plugged into a vehicle. Moreover, the EZ Lynk Sys-
tem’s makers work with companies to develop the
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emissions-control defeating software that they make
available on their cloud-computing platform.
    The government’s action thus seeks to hold EZ
Lynk liable for its own conduct violating the Clean Air
Act—the manufacture and sale of a defeat device—and
not the conduct of their customers or collaborators.
The Communications Decency Act does not create im-
munity for parties whose own misconduct makes them
liable under other laws. Nor does it apply to the dis-
semination of computer code that conveys not infor-
mation to humans, but instructions to an electronic
system. The district court was wrong to dismiss this
action at the pleading stage, particularly given that
the Communications Decency Act is an affirmative de-
fense that EZ Lynk bears the burden of establishing.
This Court should reverse the judgment.

              Jurisdictional Statement
    The district court had jurisdiction over this action
under 28 U.S.C. §§ 1331 (as it arises under the laws of
the United States), 1345 (for actions brought by the
United States), and 1355 (for actions to collect fines or
penalties imposed by federal law). The district court
entered judgment on July 11, 2024 (Joint Appendix
(“JA”) 131), and the government timely filed a notice
of appeal on September 6, 2024 (JA 132). Accordingly,
this Court has jurisdiction under 28 U.S.C. § 1291.

             Issue Presented for Review
   Whether the district court erred in determining
that, although the government adequately alleged
that defendants violated the Clean Air Act by
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manufacturing and selling the EZ Lynk System, they
are immunized from Clean Air Act liability under sec-
tion 230 of the Communications Decency Act, under
which a “provider . . . of an interactive computer ser-
vice” may not “be treated as the publisher or speaker”
of information provided by a third party.

               Statement of the Case

A. Procedural History
    The government commenced this action on March
8, 2021, against EZ Lynk, SEZC; Prestige Worldwide,
SEZC; Bradley Gintz; and Thomas Wood (collectively,
“EZ Lynk”), alleging violations of two provisions of the
Clean Air Act: 42 U.S.C. § 7522(a)(3)(B), which prohib-
its the manufacture and sale of defeat devices; and 42
U.S.C. § 7542(a), which requires certain parties to pro-
vide information to the Environmental Protection
Agency (“EPA”) upon request. (JA 13-44). On Septem-
ber 23, 2021, EZ Lynk moved to dismiss on several
grounds, including that section 230 of the Communi-
cations Decency Act (“CDA”) barred liability on the
defeat-device claim. (JA 7). The government cross-
moved for summary judgment on the information-
request claim. (JA 8). On March 28, 2024, the district
court issued an opinion and order granting in part and
denying in part EZ Lynk’s motion to dismiss, and
denying the government’s motion for summary judg-
ment. (JA 104-29). On July 5, 2024, the parties entered
a stipulation of voluntary dismissal of the information-
request claim. (JA 130). Final judgment was entered
on July 11, 2024. (JA 131). The government appealed
the judgment on September 6, 2024. (JA 132).
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B. The Clean Air Act
    Congress enacted the Clean Air Act “to protect and
enhance the quality of the Nation’s air resources so as
to promote the public health and welfare and the pro-
ductive capacity of its population.” 42 U.S.C.
§ 7401(b)(1). As one mechanism to achieve that end,
the Act regulates motor vehicle emissions that have
been linked to a range of serious health problems, from
chest pain to asthma to heart disease. (JA 17-18 ¶¶ 17-
20). In order to control emissions of pollutants and
comply with the Clean Air Act, vehicle manufacturers
install a variety of hardware and software “elements
of design” in vehicles (“Emission-Related Elements of
Design”). (JA 19-20 ¶¶ 23-26); 42 U.S.C. §§ 7521, 7522,
7525; 40 C.F.R. Part 86. Vehicles are also equipped
with Electronic Control Units (“ECUs”) and on-board
diagnostics (“OBD”) systems that monitor Emission-
Related Elements of Design. 40 C.F.R. §§ 86.007-17,
86.010-18, 86.1803-01, 86.1806-05. Testing has shown
that eliminating a vehicle’s emissions controls sub-
stantially increases pollutant emissions. (JA 18 ¶ 21).
In fact, eliminating vehicle emissions controls can in-
crease a vehicle’s carbon monoxide output 130-fold,
nitrogen oxide output 350-fold, and non-methane
hydrocarbon output 1100-fold. (JA 18 ¶ 21).
   To prevent the release of these toxic pollutants, sec-
tion 203 of the Clean Air Act contains a number of pro-
hibitions regarding Emission-Related Elements of De-
sign. Manufacturers are forbidden from selling new ve-
hicles without an EPA certificate of conformity with
regulatory requirements. 42 U.S.C. § 7522(a)(1). The
Emission-Related Elements of Design may not be
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removed or made inoperable, either before or after the
sale of a vehicle. Id. § 7522(a)(3)(A). And of particular
relevance here, the Clean Air Act prohibits the appa-
ratuses commonly known as “defeat devices”: no per-
son may “manufacture or sell, or offer to sell, or install,
any part or component intended for use with, or as part
of, any motor vehicle or motor vehicle engine, where a
principal effect of the part or component is to bypass,
defeat, or render inoperative” an Emission-Related El-
ement of Design, “where the person knows or should
know that such part or component is being offered for
sale or installed for such use or put to such use.” Id.
§ 7522(a)(3)(B). The prohibition on the sale of defeat
devices is enforceable through civil penalties and in-
junctive relief. Id. §§ 7523, 7524.

C.   The Communications Decency Act
   Section 230 of the Communications Decency Act
was enacted in 1996, and is titled “Protection for pri-
vate blocking and screening of offensive material.”
Pub. L. No. 104-104, § 509, 110 Stat. 56, codified at 47
U.S.C. § 230(c)(1). A “specific purpose[ ]” of this provi-
sion was to respond to a state trial-court decision,
Stratton Oakmont, Inc. v. Prodigy Services Co., No.
31063/94, 1995 WL 323710 (N.Y. Sup. Ct. 1995). H.R.
Conf. Rep. 104-458, at 194 (1996). Stratton Oakmont
involved a defamation suit against an online service
provider based on messages a third party had posted
on an online bulletin board. 1995 WL 323710, at *1.
Under common-law defamation principles, those who
“publish” a defamatory statement—that is, communi-
cate it to someone other than the person defamed—can
be held liable without proof that they knew the
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statement was defamatory, resulting in a form of strict
liability. The Stratton Oakmont court used the term
“publisher” in this way, understanding it to include en-
tities that are presumed to have editorial control over
what they print. 1995 WL 323710, at *3. It concluded
that the online service provider, having screened post-
ings to the bulletin board and removed some of them,
was a “publisher” of and thus liable for any defamatory
speech that remained. Id. at *4-5.
    In the legislative findings included in section 230,
Congress recognized that the Internet “represent[s] an
extraordinary advance in the availability of educa-
tional and informational resources” and “offer[s] a fo-
rum for a true diversity of political discourse, unique
opportunities for cultural development, and myriad
avenues for intellectual activity.” 47 U.S.C.
§ 230(a)(1), (3). Congress declared it the “policy of the
United States” to “promote the continued development
of the Internet and other interactive computer ser-
vices,” id. § 230(b)(1), and to “remove disincentives for
the development and utilization of blocking and filter-
ing technologies” that could better restrict access to ob-
jectionable material online, id. § 230(b)(4). To that
end, section 230(c) establishes two complementary
protections. Section 230(c)(1) directs that “[n]o pro-
vider or user of an interactive computer service shall
be treated as the publisher or speaker of any infor-
mation provided by another information content pro-
vider.” And section 230(c)(2) states that “[n]o provider
or user of an interactive computer service shall be held
liable on account of . . . any action voluntarily taken in
good faith to restrict access to or availability of mate-
rial that the provider or user considers to be obscene,
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lewd, lascivious, filthy, excessively violent, harassing,
or otherwise objectionable.” The statute expressly
preempts any “cause of action” or “liability” “under any
State or local law that is inconsistent with” those pro-
visions. 47 U.S.C. § 230(e)(3).

D. The Government’s Complaint

   1. The EZ Lynk System
   As alleged in the government’s complaint: EZ Lynk
manufactures and sells the EZ Lynk System, which is
“designed to remove, bypass, defeat, or render inoper-
ative emissions controls installed in vehicles,” in viola-
tion of the Clean Air Act. (JA 23 ¶ 40). Gintz and Wood
are co-founders, co-owners, and directors of EZ Lynk,
SEZC. (JA 16-17 ¶¶ 12-13). Together, they “control[ ],
direct[ ], and manage[ ] the marketing and sale of the
EZ Lynk System as well as the technical support for
the EZ Lynk System.” (JA 16-17 ¶¶ 12-13).

       a.     Gintz’s and Wood’s History with
              Defeat Devices
   Long before forming EZ Lynk, Gintz and Wood
were in the business of manufacturing and selling de-
feat devices. (JA 24 ¶¶ 42-44). Gintz himself has in-
stalled defeat devices on his customers’ trucks. (JA 24
¶ 43). Between 2010 and 2014, Wood provided engi-
neering services to a company called H&S Perfor-
mance, LLC. (JA 24 ¶ 44). Specifically, Wood sup-
ported the development of H&S’s aftermarket tuner—
a device EPA found to violate the Clean Air Act, which
led to H&S’s payment of a $1,000,000 fine to EPA in
2015. (JA 24 ¶ 44).
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    In 2016, Gintz and Wood designed the EZ Lynk
System to defeat vehicles’ emissions controls. (JA 24-
25 ¶¶ 45-47). That year, Gintz and Wood patented the
first generation EZ Lynk System. (JA 24-25 ¶ 45-46).
The patent application is titled “System and method
for real time wireless ECU monitoring and reprogram-
ming,” lists Gintz and Wood as inventors, and includes
a detailed description of the system’s functionality.
(JA 24-25 ¶ 45 (citing U.S. Patent No. 10,037,633)). In
particular, the patent application describes the EZ
Lynk System as consisting of three components—a “lo-
cal device” that connects to the automotive controller,
a “system server,” and a “client device” that wirelessly
connects to the local device and the system server to
obtain engine data and then send software to the au-
tomotive controller. U.S. Patent No. 10,037,633, at 1,
available at https://perma.cc/P9RT-6DKG. 1 The pa-
tent application provides that the device is capable of
reprogramming “settings used to tune the engine for
efficiency or performance, including settings for igni-
tion timing advance, spark timing, fuel injection, elec-
tronic throttle control, poppet valve timing, [and] boost
control.” (JA 25 ¶ 46). Changes to any of these settings
can affect emissions controls. (JA 25 ¶ 46). The EZ
Lynk System patent application separately sets forth
two drawings that demonstrate that the device is ca-
pable of modifying the pilot-injection and smoke-

—————
   1  This patent was referred to in the government’s
complaint (JA 24-25 ¶ 45) and may therefore be con-
sidered on this appeal. Dixon v. von Blanckensee, 994
F.3d 95, 101 (2d Cir. 2021).
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limitation settings, both of which can also affect emis-
sions controls. (JA 25 ¶ 46).
   In 2016, Gintz and Wood formed EZ Lynk, SEZC,
as a Cayman Islands “special economic zone company”
to manufacture and sell the product, and they assigned
their patent to that company. (JA 16-17 ¶ 10, JA 24-25
¶ 45).

       b.     EZ Lynk Manufactures and Sells the
              EZ Lynk System Defeat Device
    As noted above, the EZ Lynk System consists of
three components. (JA 13-14 ¶ 1). The first component
is the EZ Lynk Auto Agent, a physical apparatus that
plugs into a vehicle’s OBD port. (JA 13-14 ¶ 1, JA 25
¶ 47). Once plugged in, the Auto Agent is able “to ac-
cess, override, or reprogram the vehicle’s computer
system, including aspects of the ECU and OBD sys-
tem, as well as various other Emission-Related Ele-
ments of Design.” (JA 25 ¶ 47). The EZ Lynk Auto
Agent is compatible with over 180 makes and models
of vehicles. (JA 24 ¶ 41, JA 25 ¶ 47). The second com-
ponent is the EZ Lynk Cloud, a cloud-computing plat-
form that stores software that may be installed using
the Auto Agent. (JA 13-14 ¶ 1, JA 25-26 ¶ 48, JA 26-
27 ¶¶ 51-54). The third component is the EZ Lynk
Auto Agent App, a smartphone app that connects the
Auto Agent to the EZ Lynk Cloud. EZ Lynk’s own de-
scription of the Auto Agent App makes clear that the
EZ Lynk System allows users to “reprogram your ve-
hicle easily from your Smartphone.” (JA 13-14 ¶ 1,
JA 25-26 ¶ 48).
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   The EZ Lynk Cloud stores calibration software
known as “tunes”; many of these are “delete tunes,”
which are designed to defeat Emission-Related Ele-
ments of Design. (JA 26 ¶ 49, JA 27-28 ¶¶ 53-54). The
delete tunes stored on the EZ Lynk Cloud are created
specifically for use with the EZ Lynk Auto Agent by
third party “technicians.” (JA 26 ¶¶ 49-50). Drivers
who purchase the EZ Lynk System log on to the EZ
Lynk Cloud to acquire delete tunes, use the Auto
Agent App to transfer delete tunes, and plug in the
Auto Agent to install delete tunes on vehicles’ com-
puter systems. (JA 25-27 ¶¶ 47-54). As advertised, the
EZ Lynk System is capable of “ ‘accessing deeper into
the vehicle’s computers’ to ‘enhance [the vehicle’s]
overall performance and fuel economy,’ ” which are
typical goals of drivers installing defeat devices.
(JA 22 ¶ 33, JA 29 ¶ 55).
   Since 2016, EZ Lynk has manufactured and sold at
least tens of thousands of EZ Lynk Systems, a large
proportion of which were sold to drivers in the United
States. (JA 29 ¶ 56).

       c.     EZ Lynk Participates in the Creation
              of Delete Tunes and Encourages
              Their Use on the EZ Lynk System
   In addition to manufacturing and selling the EZ
Lynk System, EZ Lynk helps create delete tunes and
promotes their use with the EZ Lynk System.
    First, EZ Lynk collaborates with delete-tune crea-
tors to ensure that they produce delete tunes specifi-
cally for use with the EZ Lynk System. (JA 29 ¶ 57).
In particular, EZ Lynk previewed the EZ Lynk System
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for delete-tune creators while the EZ Lynk System was
in development “to ensure that delete tunes capable of
effectively disabling emissions controls are readily
available to drivers using the EZ Lynk System.” (JA 29
¶ 57). For instance, one technician that created delete
tunes specifically for use with the EZ Lynk System
stated that it was “fortunate” to be able “to work with
the guys at EZ Lynk during development of [its] state
of the art software and ha[s] been amazed at what the
EZ Lynk platform is capable of.” (JA 29 ¶ 57).
    As another example, EZ Lynk previewed the EZ
Lynk System’s technology for Power Performance En-
terprises, Inc. (“PPEI”), another technician that was
involved in testing the EZ Lynk System in its early
stages and created delete tunes for customers to install
using the system. (JA 29 ¶ 58, JA 27-28 ¶¶ 53-54
(showing a selection of PPEI “No Em[issions]” delete
tunes available on the EZ Lynk Cloud), JA 32-33 ¶ 67
(driver “installed an ez lynk from ppei and egr[2] de-
lete”)). Indeed, PPEI’s delete tunes have regularly
been sold “bundled with” the EZ Lynk System. (JA 30
¶¶ 61-62 (EZ Lynk System bundled with PPEI delete
tunes offered for sale)). EZ Lynk provides delete-tune
creators with “a free, cloud-based software program
called the EZ Lynk ECU Profile Editor” that enables
them to create delete tunes for use with the EZ Lynk
System. (JA 30 ¶ 59).

—————
   2   Presumably the “exhaust gas recirculation” sys-
tem, an Emission-Related Element of Design. (JA 19
¶ 25).
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    EZ Lynk also provides technical assistance to driv-
ers who purchase the EZ Lynk System, helping them
install delete tunes to ensure that they can success-
fully defeat their vehicles’ emissions controls. (JA 32-
33 ¶ 67). EZ Lynk has maintained a Facebook group
called the EZ Lynk Forum, administered by EZ Lynk
and the delete-tune creator PPEI, on which the EZ
Lynk Technical Support Team provides technical as-
sistance when drivers who purchase the EZ Lynk Sys-
tem experience problems deleting emissions controls.
(JA 31 ¶ 64, JA 32-33 ¶ 67). For example:
   • One driver posted to the EZ Lynk Forum, “In-
     stalled ez Lynk on my 14 ram 3500 fully deleted
     the other day [and] as soon as it loaded” certain
     dashboard malfunction indicator lights—which
     are Emission-Related Elements of Design (JA 20-
     21 ¶ 29, JA 26 ¶ 49)—illuminated. The driver
     asked if anyone else had experienced the same
     problem. EZ Lynk’s Technical Support Repre-
     sentative provided several long and detailed re-
     sponses about how to fix the problem, and the
     driver wrote “[p]roblems fixed with the help of EZ
     Lynk’s Technical Support Representative and
     hpp tunes.”
   • A driver posted on Facebook in the EZ Lynk Fo-
     rum, “just installed an ez lynk from ppei and egr
     delete . . . [but] I have no ecu profiles from ppei?
     What’s going on here?” In response, EZ Lynk’s
     Technical Support Representative and PPEI’s
     owner posted questions and advice to trouble-
     shoot the issue with the delete process. Ulti-
     mately, PPEI’s owner fixed the driver’s issue
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     remotely through the EZ Lynk Cloud, and the
     driver responded by posting, “Thank you so much
     for the awesome service! I love the way the truck
     is now being deleted!”
   • A driver posted, “My ezlynk has worked great
     since the day I had it installed! Even going from
     stock to deleted I had ZERO issues! I just wanted
     everyone to know this is a great system and my
     pickup runs great, zero smoke and my mpg’s
     went up about 6mpg. SHIT!! I just can’t believe
     how well it connects and never gives me issues!
     Even when I had a small situation I CALLED
     THEM and BAM!! Problem solved! Good day.” In
     response, an EZ Lynk representative “loved” this
     post.
(JA 32-33 ¶ 67). In addition to providing technical sup-
port via this Facebook group to help users install de-
lete tunes, EZ Lynk also operates a tech-support phone
line, email address, and website. (JA 33 ¶¶ 69-70).
   Indeed, EZ Lynk actively encourages users to in-
stall delete tunes with the EZ Lynk System. On the EZ
Lynk Forum, EZ Lynk representatives openly support
the installation of delete tunes, “liking” and “loving”
posts that read: “Finally made the jump and deleted
my 14 Ram 2500”; “Truck has shown huge improve-
ment with the deletes and new tunes”; and “ez Lynk/
delete set up will arrive on my door step next week.”
(JA 32 ¶ 66).
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       d.     The EZ Lynk System Is Widely Used
              to Defeat Emissions Controls
    The result of EZ Lynk’s design, manufacture, and
sale of a device built to defeat emissions controls is
that the EZ Lynk System has been put to widespread
use for that purpose. Retailers regularly offer the EZ
Lynk System for sale pre-packaged with delete tunes.
(JA 30 ¶ 61, JA 31 ¶ 63). Hundreds of posts on online
message boards, Youtube.com, and social media show
the prevalence of the EZ Lynk System: a driver with
the username 2fast4thelaw posted a guide on “How to
Delete and Tune” a Nissan truck with the EZ Lynk
System; a thread on reddit.com included several users
recommending the EZ Lynk System to delete emis-
sions controls from a vehicle; and a driver who was “a
little worried about engine longevity and the govern-
ment” posted on powerstroke.org that he had deleted
his vehicle’s emissions controls with “a PPEI EZ Lynk
tuner.” (JA 34-35 ¶¶ 71-72). Moreover, the harmful ef-
fects of the EZ Lynk System outlive the original user.
In a three-month period in 2017, the government
found more than fifty advertisements for vehicles for
sale with their emissions controls deleted by the owner
using the EZ Lynk System across twenty states.
(JA 35-36 ¶ 74, JA 36 ¶¶ 75-76 (discussing more re-
cent advertisements for vehicles that had their emis-
sions controls deleted with the EZ Lynk System)).

E.   The District Court’s Decision and Judgment
   On March 28, 2024, the district court granted in
part and denied in part EZ Lynk’s motion to dismiss
and denied in full the government’s motion for
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summary judgment. The district court dismissed the
government’s claims under section 203 of the Clean
Air Act based on the conclusion that the CDA immun-
izes EZ Lynk from liability. (JA 118-26).
    First, the district court concluded that the govern-
ment’s complaint adequately alleges that the EZ Lynk
System is a defeat device under section 203 of the
Clean Air Act. (JA 116-18). The district court deter-
mined that the government sufficiently pleaded that
the EZ Lynk System is a “part or component” intended
for use with a motor vehicle by alleging the EZ Lynk
System consists of the Auto Agent device, the EZ Lynk
Cloud, and the Auto Agent App; the Auto Agent plugs
into a vehicle’s on-board diagnostics port; and once the
Auto Agent is connected to the EZ Lynk Cloud through
the Auto Agent App, drivers are able to send and re-
ceive data and software relating to their vehicles’ com-
puter systems. (JA 116-17). The district court rejected
EZ Lynk’s argument that the EZ Lynk System is a
“scan tool” rather than a “part or component,” noting
that “part” is a “capacious term” and “the text of the
statute and the allegations in the Complaint” lead to
the conclusion that “the EZ Lynk System, whose hard-
ware has to be plugged into the car, is a car part.”
(JA 117).
    In addition, the district court ruled that the govern-
ment had sufficiently alleged that “ ‘a principal effect’ ”
of the EZ Lynk System is to “ ‘defeat’ ” emissions con-
trols and that EZ Lynk “ ‘knows or should know’ ” that
it is “ ‘put to such use.’ ” (JA 117 (quoting 42 U.S.C.
§ 7522(a)(3)(B))). The complaint alleges that EZ Lynk
has enabled many thousands of drivers across the
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United States to use the EZ Lynk System to “delete”
emissions controls from Ford, GMC, and Chrysler
trucks, among other vehicles; many of the “tunes”
available for use with the EZ Lynk System are capable
of defeating emissions controls; and hundreds of posts
on the EZ Lynk Forum and numerous posts on numer-
ous other sites discuss using the EZ Lynk System to
defeat emissions controls. (JA 117). 3
   Despite concluding that the EZ Lynk System was a
defeat device, the district court ruled that “it is clear
on the face of the complaint that Section 230 [of the
Communications Decency Act] immunizes the EZ
Lynk Defendants,” requiring dismissal of the govern-
ment’s section 203 claims. (JA 119). 4
   The district court first ruled that the EZ Lynk Sys-
tem is an “interactive computer service” due to the
presence of the EZ Lynk Cloud, concluding that be-
cause the EZ Lynk Cloud “is a platform on which
—————
   3   The district court concluded that the com-
plaint’s allegations are insufficient to establish a sec-
tion 203 claim as to defendant Prestige, which sells
only the Auto Agent device rather than the complete
EZ Lynk System. (JA 117-18). The government is not
appealing that aspect of the district court’s judgment.
   4   Because the district court concluded this hold-
ing also immunizes the individual defendants, it de-
clined to decide whether those defendants could be li-
able themselves under section 203. (JA 118). Should
this Court reverse, the individual defendants’ liability
should be determined by the district court on remand.
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people exchange information in the form of software,”
it qualifies as an “interactive computer service.”
(JA 120-22). Second, the court determined that the
government’s claim sought to treat the EZ Lynk de-
fendants as “publisher[s]” of third-party delete tunes
because, “[i]n the absence of the emissions-defeating
software created by third parties, and the EZ Lynk De-
fendants’ publication and transmission of that soft-
ware to drivers via the EZ Lynk Cloud, the govern-
ment would not have a Section 203 claim against the
EZ Lynk Defendants.” (JA 122).
    Finally, the district court rejected the government’s
allegations that EZ Lynk actively participated in the
installation and creation of delete tunes. (JA 123-26).
In doing so, the district court concluded the complaint
did not adequately allege facts leading to a reasonable
inference that EZ Lynk collaborated in the creation of
delete tunes with several delete-tune creators.
(JA 123-24). The court also rejected the argument that
EZ Lynk’s encouragement of the use and creation of
delete tunes could bring this action outside the ambit
of section 230. (JA 123-24). And the court determined
that it was not reasonable to infer that EZ Lynk as-
sisted users in installing delete tunes based on the
complaint’s allegations discussing technical assistance
that EZ Lynk’s employees provided to customers.
(JA 125-26 (citing JA 32-33 ¶¶ 66-67)). Because the
district court concluded that all elements of a CDA
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defense were met, it dismissed the government’s Clean
Air Act claim. 5
   On July 11, 2024, judgment was entered dismissing
the action. (JA 131). This appeal followed. (JA 132).

             Summary of the Argument
   The district court erred as a matter of law in con-
cluding that section 230 of the CDA immunizes EZ
Lynk from liability under the Clean Air Act for manu-
facturing and selling the EZ Lynk System, which is
primarily a device that plugs into drivers’ vehicles and
installs software to “delete” vehicle emissions controls.
EZ Lynk cannot establish three requirements of the
CDA’s affirmative defense.
   First, the government’s claim does not treat delete
tunes, which are computer programs, as “information”
within the meaning of the CDA. A computer program
may in some respects be able to convey information to

—————
   5   As to the government’s information-request
claim under section 208 of the Clean Air Act, the dis-
trict court held that “[t]he statute is clear” that EZ
Lynk is subject to EPA’s information-gathering au-
thority and was not immunized by the CDA. (JA 127).
But the district court concluded summary judgment
was inappropriate because material disputes of fact re-
mained. (JA 128-29). With the section 203 claim dis-
missed, the parties later stipulated to the dismissal of
the section 208 claim with prejudice (JA 130), and the
government is not appealing that aspect of the judg-
ment.
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a person, but it also serves the purpose of instructing
a computer to perform certain actions. The govern-
ment’s complaint in this case targets only that func-
tional capacity of delete tunes—namely, their elec-
tronic effect of rendering computerized emissions con-
trols inoperative—and thus does not treat the delete
tunes as “information,” making section 230’s immun-
ity inapplicable. See infra Point B.1.
    Second, the government’s complaint does not treat
EZ Lynk as a mere “publisher” of third-party content,
as the government does not contend EZ Lynk is liable
for any action related to deciding whether to block or
remove unlawful third-party content. Rather, the gov-
ernment has brought this action seeking to hold EZ
Lynk liable for its own conduct—namely, that EZ Lynk
manufactures and sells the EZ Lynk System, a defeat
device designed to reprogram vehicles’ emissions con-
trols by installing emissions-control defeating soft-
ware. That defeat device consists of three components
that work together to disable emissions controls, only
one of which, the EZ Lynk Cloud, involves any aspect
of distributing third-party content. The EZ Lynk Sys-
tem also includes a physical device to plug into vehi-
cles and a smartphone app to connect the physical de-
vice to the cloud server. As a whole, that system vio-
lates a legal duty arising from the Clean Air Act, a
duty wholly unconnected to any supposed publishing
conduct. See infra Point B.2.
   Third, EZ Lynk cannot show that it is immune un-
der the CDA because its own participation in and en-
couragement of the development, availability, and use
of delete tunes means the information content is not
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being provided by someone separate from EZ Lynk, as
the defense requires. The affirmative defense should
not have been considered at this stage of the litigation,
as its elements do not appear on the face of the com-
plaint, and that procedural error alone warrants rever-
sal. But in any event, the government’s complaint al-
leges that EZ Lynk directly and materially contributed
to the development, availability, and use of unlawful
content, which defeats EZ Lynk’s ability to obtain im-
munity under the CDA. See infra Point B.3.
   For those reasons, the judgment of the district
court should be reversed.


                   ARGUMENT

                 Standard of Review
   This Court reviews a district court’s grant of a mo-
tion to dismiss de novo. Slattery v. Hochul, 61 F.4th
278, 285-86 (2d Cir. 2023).
    “In reviewing a Rule 12(b)(6) dismissal,” this Court
“must accept as true all nonconclusory factual allega-
tions in the complaint and draw all reasonable infer-
ences in the Plaintiffs’ favor.” Kaplan v. Lebanese Ca-
nadian Bank, SAL, 999 F.3d 842, 854 (2d Cir. 2021).
Moreover, “an affirmative defense to a plaintiff ’s claim
for relief [is] not something the plaintiff must antici-
pate and negate in her pleading.” Perry v. Merit Sys-
tems Protection Board, 582 U.S. 420, 435 n.9 (2017);
accord In re: Nine West LBO Securities Litig., 87 F.4th
130, 144 (2d Cir. 2023) (“Plaintiffs are under no obli-
gation to plead facts supporting or negating an
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affirmative defense in the complaint.”). For that rea-
son, affirmative defenses are typically “inappropriate
to resolve on a motion to dismiss,” Kelly-Brown v. Win-
frey, 717 F.3d 295, 308 (2d Cir. 2013), and a defendant
may only properly raise an affirmative defense in a
pre-answer motion to dismiss if “the defense appears
on the face of the complaint,” Michael Grecco Produc-
tions, Inc. v. RADesign, Inc., 112 F.4th 144, 149 (2d
Cir. 2024).

        EZ Lynk Is Not Immune Under the
 Communications Decency Act for Manufacturing
 and Selling Emissions-Control Defeating Devices
          in Violation of the Clean Air Act
    The district court correctly determined that the
government has stated a claim for violation of section
203 of the Clean Air Act, which makes the manufac-
ture and sale of defeat devices unlawful. 42 U.S.C.
§ 7522(a)(3)(B); (JA 116-18). As the government al-
leged in its complaint, the EZ Lynk System’s hardware
is plugged in to a vehicle and has a “ ‘principal effect’ ”
of “ ‘defeat[ing]’ ” emissions controls—and EZ Lynk
“ ‘knows or should know’ that it is ‘put to such use.’ ”
(JA 117 (quoting 42 U.S.C. § 7522(a)(3)(B))). EZ Lynk
has enabled thousands of drivers to disable the emis-
sions controls on their vehicles, many of whom have
shared their stories of doing so on EZ Lynk’s own Fa-
cebook group and other sites with EZ Lynk’s overt ap-
proval. (JA 117). Its alleged conduct makes EZ Lynk
liable under the Clean Air Act. Nothing in the Com-
munications Decency Act shields EZ Lynk from that
liability for manufacturing and selling defeat devices,
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and the district court erred both procedurally and sub-
stantively in concluding otherwise.

A. Requirements of the Communications
   Decency Act’s Affirmative Defense
    Section 230 of the Communications Decency Act
provides that “[n]o provider or user of an interactive
computer service shall be treated as the publisher or
speaker of any information provided by another infor-
mation content provider.” 47 U.S.C. § 230(c)(1). The
statute “shields a defendant from civil liability” only
when three elements are all met: the defendant is “a
‘provider or user of an interactive computer service’ ”; 6
the plaintiff ’s claims “ ‘treat’ the defendant as the
‘publisher or speaker’ of information”; and that infor-
mation is “ ‘provided by’ an ‘information content pro-
vider’ other than the defendant.” 7 Force v. Facebook,
Inc., 934 F.3d 53, 64 (2d Cir. 2019) (quoting 47 U.S.C.
§ 230(c)(1); alterations omitted). Section 230 provides
an “affirmative defense” to liability; therefore, a
—————
   6   An “interactive computer service” is “any infor-
mation service, system, or access software provider
that provides or enables computer access by multiple
users to a computer server, including specifically a ser-
vice or system that provides access to the Internet.” 47
U.S.C. § 230(f)(2).
   7  An “information content provider” is “any per-
son or entity that is responsible, in whole or in part,
for the creation or development of information pro-
vided through the Internet or any other interactive
computer service.” 47 U.S.C. § 230(f)(3).
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defendant may only properly invoke it to obtain dis-
missal of a claim if “the statute’s barrier to suit is evi-
dent from the face of the complaint.” Ricci v. Teamsters
Union Local 456, 781 F.3d 25, 28 (2d Cir. 2015) (quo-
tation marks omitted); accord Force, 934 F.3d at 57, 63
n.15.

B. EZ Lynk Cannot Establish the Elements of a
   Section 230 Defense
    The district court was incorrect in concluding that
EZ Lynk is shielded from liability for its violation of
the Clean Air Act by the CDA, as EZ Lynk cannot es-
tablish three requirements for that affirmative de-
fense. First, the EZ Lynk System disseminates func-
tional software tools, which are not “information” pro-
tected by section 230. Second, the government’s Clean
Air Act claim does not treat EZ Lynk as the “publisher”
of content. And third, the content at issue is not pro-
vided by “another” information content provider
wholly separate from EZ Lynk.
    At bottom, this action is not about publishing infor-
mation. It is about EZ Lynk’s own unlawful conduct—
its manufacture and sale of a complete system that in-
cludes a hardware component to install delete tunes in
vehicles to defeat emission controls, as well as its col-
laboration with others to create delete tunes specifi-
cally for use with the EZ Lynk System, and its actions
to encourage their development, availability, and use
by EZ Lynk customers. That conduct violates the
Clean Air Act, and has nothing to do with the liability
shield created by the Communications Decency Act.
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   1. The Complaint Does Not Seek to Hold
      EZ Lynk Liable for Publishing
      “Information”
    To begin with, section 230’s immunity does not ex-
tend to the EZ Lynk System because the government’s
claim does not treat the software available on the
EZ Lynk Cloud as “information” within the meaning of
the CDA. Section 230 limits liability only where a
claim treats an interactive computer service “as the
publisher or speaker of any information.” 47 U.S.C.
§ 230(c)(1) (emphasis added). The EZ Lynk System
does not convey “information” in the sense used in sec-
tion 230—that is, information for a human audience.
Rather, it disseminates a tool that uses computerized
commands for disabling a vehicle’s emission controls.
The unlawful functional capacity of that tool is not “in-
formation.”
    Although no court appears to have analyzed
whether software is “information” under section 230,
in a different context this Court has drawn a distinc-
tion between the “functional and expressive elements”
of computer software. Universal City Studios, Inc. v.
Corley, 273 F.3d 429, 451 (2d Cir. 2001). In rejecting a
First Amendment challenge to an injunction barring
dissemination of a computer program, the Court rec-
ognized that computer code can “convey information
capable of comprehension and assessment by a human
being,” and thus may “communicat[e] ideas” to those
who can read and understand that code. Id. at 447-48.
But in contrast to communication with people, “com-
municat[ion] through code . . . to the computer” is
“never protected” as speech. Id. at 449 (citing CFTC v.
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Vartuli, 228 F.3d 94, 111 (2d Cir. 2000)). When re-
ceived by a computer, code does not “convey infor-
mation or . . . assert values”; instead, it functions “in
an entirely mechanical way” as a “command to a ma-
chine” “to induce action” and “electronically trigger[ ]”
a response. Vartuli, 228 F.3d at 111. “That functional
capability is not speech.” Corley, 273 F.3d at 454.
    That same distinction should govern whether a
computer program is “information” under the Commu-
nications Decency Act. 8 In enacting the CDA’s protec-
tion for publishing or speaking information, Congress
expressed purposes that closely mirror the rationales
for constitutional protection of speech. First Amend-
ment protections advance “the pursuit of truth, the ac-
commodation among interests, the achievement of so-
cial stability, the exposure and deterrence of abuses of
authority, personal autonomy and personality devel-
opment, or the functioning of a democracy.” Vartuli,
228 F.3d at 111. Congress through the CDA similarly
sought to promote “the availability of educational and
informational resources,” “a forum for a true diversity
of political discourse, unique opportunities for cultural
development, and myriad avenues for intellectual ac-
tivity,” and “a variety of political, educational, cul-
tural, and entertainment services.” 47 U.S.C.
§ 230(a)(1), (3), (5). That Congress intended to protect
those types of discourse and communication among
people is confirmed by its reference to a “publisher or
—————
   8   The district court simply stated, without analy-
sis, that “[s]oftware is information, albeit presented in
code.” (JA 121-22).
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speaker,” terms that strongly suggest communication
among people rather than software programs’ instruc-
tions to computers. See American Heritage Dictionary
of the English Language (5th ed.) (defining “speak” in
terms of “convey[ing] information”); Restatement (Sec-
ond) of Torts § 577 (1977) (“Publication . . . is . . . com-
munication . . . to one other than the person de-
famed.”). And in its statutory findings Congress re-
inforced that emphasis on communicating information
to people, who benefit from hearing and receiving in-
formation. 47 U.S.C. § 230(a)(1) (noting benefits of In-
ternet communication “to individual Americans” and
“to our citizens”); (a)(2) (benefits to “users” from “infor-
mation that they receive”); (a)(4) (noting interactive
computer services “have flourished, to the benefit of all
Americans”); (b)(3) (stating policy to “maximize user
control over what information is received by individu-
als, families, and schools”).
    These statutory goals are not advanced by the dis-
tribution of the functional aspects of computer pro-
grams, demonstrating why delete tunes should not be
considered “information” under section 230. The EZ
Lynk Cloud does not make delete tunes available be-
cause of “whatever capacity [they] might have for con-
veying information to a human being”—it makes them
available because of their “capacity to instruct a com-
puter” to disable vehicle’s emissions controls. Corley,
273 F.3d at 454. 9 In that sense, delete tunes are no

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   9   Corley concerned software that, much like a de-
lete tune, was prohibited by Congress because it cir-
cumvented technological measures—in that case,
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different from a physical device manufactured and
sold to defeat emissions controls, such as an exhaust
pipe designed to bypass a catalytic converter. 10 Both
are “target[ed],” id., by the Clean Air Act as a “part or
component” for their “principal effect” of defeating
emissions controls, 42 U.S.C. § 7522(a)(3)(B), not for
any “information” they convey. See FTC v. LeadClick
Media, LLC, 838 F.3d 158, 176 (2d Cir. 2016) (express-
ing skepticism that section 230 applies to a defendant
because its “purpose was not to encourage discourse”).
Thus, just as the functional capacity of the computer
program in Corley was not “speech,” the functional ca-
pability of delete tunes to defeat emissions controls is
not “information” under section 230, and the protec-
tion of that statute does not apply to EZ Lynk.

   2. The Complaint Does Not Treat EZ Lynk as
      a Publisher, but as a Manufacturer and
      Seller of a System That Installs Unlawful
      Emissions-Control Defeating Software
    Nor does the government’s Clean Air Act claim
“treat” EZ Lynk as the “publisher or speaker” of
—————
encryption or other protections used by copyright hold-
ers to prevent unauthorized digital copying of their
works.
   10 See S. Rep. 101-228 (1989), 1990 U.S.C.C.A.N.
3385, 3509 (noting 1990 amendments to Clean Air Act
prohibits “ ‘defeat devices’ . . . [that] include ‘test tubes’
used to replace catalytic converters on vehicles [and]
aftermarket computer programmable read-only
memory chips . . . .”).
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information, as required for EZ Lynk to establish the
section 230 defense. Rather, the alleged liability is
based on EZ Lynk’s own conduct in manufacturing and
selling a defeat device.
    A “publisher,” as the term is used in the CDA, is
“one that makes public,” “the reproducer of a work in-
tended for public consumption,” “one whose business
is publication,” or more broadly, one engaged in “ar-
ranging and distributing” information. Force, 934 F.3d
at 65-66 (quotation marks omitted). “At its core, § 230
bars lawsuits seeking to hold a service provider liable
for its exercise of a publisher’s traditional editorial
functions—such as deciding whether to publish, with-
draw, postpone or alter content.” LeadClick, 838 F.3d
at 174 (quotation marks omitted; quoting Jones v.
Dirty World Entertainment Recordings LLC, 755 F.3d
398, 407 (6th Cir. 2014), and Zeran v. America Online,
Inc., 129 F.3d 327, 330 (4th Cir. 1997)).
    In short, a claim seeks to “treat[ ]” a website pro-
vider as “the publisher or speaker” of third-party con-
tent if liability turns on the provider’s failure to block
or remove unlawful content from its platform: “any ac-
tivity that can be boiled down to deciding whether to
exclude material that third parties seek to post
online.” Fair Housing Council of San Fernando Valley
v. Roommates.com, LLC, 521 F.3d 1157, 1170-71 (9th
Cir. 2008) (en banc); accord id. at 1174 (section 230
“enacted to protect websites against the evil of liability
for failure to remove offensive content”); Klayman v.
Zuckerberg, 753 F.3d 1354, 1359 (D.C. Cir. 2014) (“the
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very essence of publishing is making the decision
whether to print or retract a given piece of content”). 11
    But a claim that seeks to hold a defendant account-
able for other aspects of its own conduct does not
“treat” the defendant as a “publisher or speaker,” even
if third-party content is involved. See Erie Insurance
Co. v. Amazon.com, Inc., 925 F.3d 135, 139-40 (4th Cir.
2019) (no CDA immunity where claim is based on de-
fendant’s conduct separate from publication of an-
other’s speech); Roommates.com, 521 F.3d at 1165 (no
CDA immunity for defendant’s “own acts” in soliciting
and developing third-party content). Accordingly,
“courts must ask whether the duty that the plaintiff
alleges the defendant violated derives from the defend-
ant’s status or conduct as a ‘publisher or speaker.’ ”
Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1102, 1107 (9th
Cir. 2009) (no CDA bar where claim is based in defend-
ant’s alleged promise to remove content, because “legal
duty [is] distinct from the conduct at hand”).
   Here, the government’s complaint alleges that
EZ Lynk violated the Clean Air Act through its own
acts—conduct that is entirely separate from any pur-
ported “publishing” decision to retain or remove third-
party content on the EZ Lynk Cloud. The EZ Lynk

—————
   11  That section 230(c) is focused on the decision to
block or remove material is confirmed by its caption—
“Protection for ‘Good Samaritan’ blocking and screen-
ing of offensive material.” See INS v. St. Cyr, 533 U.S.
289, 308-09 (2001) (statute’s caption may clarify ambi-
guity in its terms).
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System, the defeat device that EZ Lynk manufactured
and sold, consists of all three components—the Auto
Agent physical device, the Auto Agent App
smartphone software, and the EZ Lynk Cloud—that
work together to disable vehicles’ emissions controls.
(JA 13-14 ¶ 1); see U.S. Patent No. 10,037,633, at 1,
available at https://perma.cc/P9RT-6DKG. As de-
scribed above, the Auto Agent plugs into a vehicle’s
onboard diagnostic port in order to enable EZ Lynk
customers to install delete tunes using the
smartphone-based Auto Agent App. (JA 25 ¶ 47,
JA 25-26 ¶ 48, JA 27 ¶ 52).
   Even if the EZ Lynk Cloud, where delete tunes are
stored for users to download, appears similar to a con-
tent platform, the government’s Clean Air Act claim
does not seek to hold the defendants liable for failure
to remove tunes from the cloud. Rather, the govern-
ment’s claim is based on EZ Lynk’s knowing manufac-
ture and sale of an unlawful product: the EZ Lynk Sys-
tem in its entirety. The storage of delete tunes on the
EZ Lynk Cloud, which is merely one of the system’s
functionalities involving one of its three main compo-
nents, is not the basis for liability in this case. Because
the manufacturing and selling conduct that violates
the legal duty arising under the Clean Air Act is dis-
tinct from any publishing conduct, section 230 does not
shield EZ Lynk from liability.
   More specifically, in designing the EZ Lynk System
to reprogram emissions controls, manufacturing its
hardware component with the capability of installing
delete tunes, and selling the EZ Lynk System to tens
of thousands of drivers, EZ Lynk is not “deciding
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whether to publish, withdraw, postpone or alter” infor-
mation created by third parties. LeadClick, 838 F.3d
at 174 (quotation marks omitted). The presence of
third-party content as part of the EZ Lynk System’s
process of defeating emissions controls does not im-
munize EZ Lynk: section 230 “does not provide a gen-
eral immunity against all claims derived from third-
party content,” and does not apply when a legal claim
“has nothing to do with [the defendant’s] efforts, or
lack thereof, to edit, monitor, or remove” such third-
party content. Doe v. Internet Brands, Inc., 824 F.3d
846, 852-53 (9th Cir. 2016) (quotation marks omitted);
accord G.G. v. Salesforce.com, Inc., 76 F.4th 544, 567
(7th Cir. 2023) (“the fact that publishing was involved
somewhere . . . does not mean that [defendant] can suc-
cessfully use Section 230(c) to shield itself from liabil-
ity”); see Erie Insurance, 925 F.3d at 140 (no immunity
from product-liability suit for sale of a third-party
product on website: “[T]he Communications Decency
Act protects interactive computer service providers
from liability as a publisher of speech, [but] it does not
protect them from liability as the seller of a defective
product.”). Even when a defendant in fact does “act as
a publisher of third-party content” in some respect,
there is no CDA immunity when “the underlying legal
duty at issue [does] not seek to hold the defendant lia-
ble as a ‘publisher or speaker’ of third-party content.”
HomeAway.com, Inc. v. City of Santa Monica, 918 F.3d
676, 682 (9th Cir. 2019); accord Barnes, 570 F.3d at
1107. That is the case here.
   The district court erred in reaching the opposite
conclusion. It reasoned that “[i]n the absence of the
emissions-defeating software created by third parties,
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and the EZ Lynk Defendants’ publication and trans-
mission of that software to drivers via the EZ Lynk
Cloud, the government would not have a Section 203
claim against the EZ Lynk Defendants.” (JA 122). But
the mere involvement of third-party software does not
mean CDA immunity applies, even if that third-party
content was a necessary part of the facts underlying
the legal claim: “To be held liable for information ‘as
the publisher or speaker’ means more than that the
publication of information was a but-for cause of the
harm.” Henderson v. Source for Public Data, L.P., 53
F.4th 110, 122 (4th Cir. 2022); accord HomeAway.com,
918 F.3d at 682 (rejecting “a ‘but-for’ test that would
provide immunity under the CDA solely because a
cause of action would not otherwise have accrued but
for the third-party content”); see Roommates.com, 521
F.3d at 1165 (“The CDA does not grant immunity for
inducing third parties to express illegal preferences.”).
    It is what EZ Lynk does with that third-party soft-
ware—namely, provide the tools necessary, through
the whole EZ Lynk System, to access the software from
the EZ Lynk Cloud and install it in vehicles using the
Auto Agent and Auto Agent App to defeat emissions
controls—that forms the basis of the government’s
Clean Air Act claim. The district court reasoned that
even though the EZ Lynk System is designed and used
to acquire and install delete tunes, EZ Lynk is simply
“ ‘distributing’ information, which is precisely what
Section 230 immunizes.” (JA 123). But the govern-
ment’s complaint alleges that the EZ Lynk System
must be seen as a whole system of all three compo-
nents working together. (JA 25-29 ¶¶ 47-56). As such,
EZ Lynk does far more than make third-party content
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available; by allowing its customers to install delete
tunes, EZ Lynk knowingly makes that software acces-
sible and usable for unlawful purposes. Indeed, the en-
tire point of the EZ Lynk System, as the complaint al-
leges and as the district court recognized, is to illegally
evade emissions controls—a purpose that is unaltered
by the fact that EZ Lynk outsources the software com-
ponent to third parties on a cloud-based platform. No
matter where the delete tunes are stored or who cre-
ates them, their installation with the EZ Lynk System
requires a physical electronic device with technical de-
sign features that allow it to “access[ ] deeper into the
vehicle’s computers” to override or reprogram a vehi-
cle’s computerized emissions controls. (JA 25-26
¶¶ 47-48, JA 29 ¶ 55, see also JA 27-28 ¶ 54 (showing
multi-step installation process involving: “Preparing
for installation”; “Unlocking controller”; “Erasing con-
troller”; and “Installing” delete tune)). Because the
government’s complaint describes this whole process
as the basis for its Clean Air Act claim, it does not treat
EZ Lynk as a publisher or distributor; it treats EZ
Lynk as the manufacturer and seller of defeat devices.
    Nor, for similar reasons, was the district court cor-
rect to contend that the “government faults the EZ
Lynk Defendants for making the software publicly
available.” (JA 122). To the contrary, the complaint
makes clear that it is the presence of the whole EZ
Lynk System that makes it possible to install the de-
lete tunes and thus to defeat emissions controls.
(JA 25-26 ¶ 48, JA 25 ¶ 50). Instead, the government
“faults” EZ Lynk for “violat[ing] the Clean Air Act—
and put[ting] the public’s health at risk—by manufac-
turing and selling a product that allows drivers to
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illegally disable their motor vehicle’s emissions con-
trols at the push of a button.” (JA 13-14 ¶ 1). That
claim does not treat EZ Lynk as a publisher, but rather
seeks to hold EZ Lynk accountable for its separately
unlawful conduct.

   3. EZ Lynk’s Participation in the Development
      and Use of Delete Tunes Means
      Section 230 Immunity Does Not Apply
    EZ Lynk also cannot establish a separate prong of
its affirmative defense: that the government’s claim
“be based on content provided by another information
content provider” besides EZ Lynk itself. LeadClick,
838 F.3d at 174. The CDA’s “grant of immunity applies
only if the interactive service provider is not also an
‘information content provider’ of the content which
gives rise to the underlying claim.” Id. A service pro-
vider becomes an “information content provider” if it is
“responsible, in whole or in part,” for the creation or
development of the information content at issue, 47
U.S.C. § 230(f)(3)—meaning it is “more than a neutral
conduit for that content.” FTC v. Accusearch Inc., 570
F.3d 1187, 1199 (10th Cir. 2009). Thus, a defendant is
“not entitled to immunity” if it has, in courts’ various
formulations, “participated in the development of the
[unlawful] content,” “assisted in the development of
what made the content unlawful,” “ ‘materially con-
tribut[ed] to the content’s alleged unlawfulness,’ ”
LeadClick, 838 F.3d at 174, 176 (quoting Room-
mates.com, 521 F.3d at 1168; alteration omitted));
“specifically encourage[d] development of what is of-
fensive about the content,” Accusearch, 570 F.3d at
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1199; or developed unlawful content as part of “a col-
laborative effort,” Roommates.com, 521 F.3d at 1167.
   The government’s complaint alleges that EZ Lynk
was on the wrong side of that line. As alleged, EZ Lynk
was active in the development of the unlawful delete
tunes: it collaborated directly with delete-tune
creators, provided technical assistance to drivers in-
stalling delete tunes, and encouraged and supported
drivers’ use of delete tunes to defeat vehicle emissions
controls. That conduct made the EZ Lynk System
much more than “neutral with respect to the offensive-
ness of the content,” and therefore “responsible” for it.
Accusearch, 570 F.3d at 1199.
    The district court dismissed the government’s alle-
gations as insufficient to “nullify[ ] immunity” under
section 230. But the government was not required to
“nullify[ ]” EZ Lynk’s CDA affirmative defense at the
pleading stage. Michael Grecco, 112 F.4th at 154
(“plaintiffs are under no obligation to plead facts sup-
porting or negating an affirmative defense in the com-
plaint” (alterations and quotation marks omitted)). A
defendant bears the burden of establishing an affirm-
ative defense, and may only raise it in a motion to dis-
miss under Rule 12(b)(6) if “the defense appears on the
face of the complaint.” Id. at 149; accord In Re: Nine
West, 87 F.4th at 144; Perry, 582 U.S. at 435 n.9. Thus
the district court was wrong to fault the government
for failing to “anticipate the Section 230 immunity”
and for “not seek[ing] leave to amend” once the CDA
affirmative defense was raised in EZ Lynk’s motion to
dismiss. (JA 126 n.7); contra Michael Grecco, 112 F.4th
at 154 (plaintiff ’s complaint “needed to plausibly
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allege a claim” but “did not need to allege, plausibly or
otherwise,” that an affirmative defense would be ne-
gated). The government had no obligation to plead that
EZ Lynk itself acted as an information content pro-
vider by materially contributing to the illegality of the
delete tunes available on the EZ Lynk Cloud.
    In any event, the government did allege that
EZ Lynk directly and materially contributed to the de-
velopment of delete tunes. First, the government’s
complaint alleges that EZ Lynk “regularly collabo-
rate[s] with technicians [i.e., the creators of delete
tunes] to ensure that delete tunes capable of effectively
disabling emissions controls are readily available to
drivers using the EZ Lynk System.” (JA 29 ¶ 57). The
complaint alleges that the delete tunes available on
the EZ Lynk Cloud are created specifically for use with
the EZ Lynk System. (JA 26 ¶ 50). Indeed, EZ Lynk
provides delete-tune creators with “a free, cloud-based
software program called the EZ Lynk ECU Profile Ed-
itor” that enables them to create delete tunes for use
with the EZ Lynk System. (JA 30 ¶ 59). EZ Lynk “pre-
viewed the EZ Lynk System” for PPEI, a creator of de-
lete tunes, and “PPEI was involved in the early stages
of testing the EZ Lynk System approximately two
years before the system’s launch in 2016.” (JA 29
¶ 58). EZ Lynk again previewed the EZ Lynk System
for PPEI in 2018, before EZ Lynk launched an updated
version of the Auto Agent device. (JA 29 ¶ 58). In ad-
dition, the complaint identifies PPEI delete tunes cre-
ated for use with the EZ Lynk System. (JA 27-28
¶¶ 53-54, see also JA 33-36 ¶¶ 68, 71, 74, 75, 76).
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    And the complaint alleges additional collaboration
between PPEI and EZ Lynk involving use of the
EZ Lynk System to install delete tunes: PPEI’s owner
has worked with EZ Lynk representatives to adminis-
ter the EZ Lynk Forum, a Facebook group maintained
by EZ Lynk as a resource for drivers seeking “infor-
mation and support for everything related to the EZ
Lynk Auto Agent.” (JA 31 ¶ 64). Indeed, PPEI has
worked with EZ Lynk Technical Support Representa-
tives to troubleshoot drivers’ issues installing PPEI de-
lete tunes using the EZ Lynk System and to provide
technical assistance to drivers deleting emissions con-
trols. (JA 32-33 ¶ 67).
    Separately, the government’s complaint alleges
that EZ Lynk provided technical assistance to drivers
to support deletion of emissions controls. In addition
to the driver whose problems installing a PPEI delete
tune were addressed by EZ Lynk and PPEI represent-
atives, the government described other examples of
EZ Lynk’s technical assistance with delete tunes.
(JA 32-33 ¶ 67). In one instance, a driver posted to the
EZ Lynk Forum, describing how dashboard malfunc-
tion indicator lights illuminated after a delete tune
was installed using the EZ Lynk System; EZ Lynk’s
Technical Support Representative provided several
long and detailed responses about how to fix the prob-
lem. (JA 32-33 ¶ 67). The driver wrote: “[p]roblems
fixed with the help of EZ Lynk’s Technical Support
Representative and hpp tunes.” (JA 32-33 ¶ 67).
   The district court incorrectly assumed that this last
example failed to show that “anyone affiliated with the
EZ Lynk Defendants helped the driver install the
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emissions-deleting software” simply because the
“problem” EZ Lynk’s Technical Support Representa-
tive responded to involved “Malfunction Indicator
Lights.” (JA 125). But solving a problem with the vehi-
cle’s functioning that followed from installation of de-
lete tunes is easily understood as assisting with the
installation of delete tunes. More specifically, as al-
leged in the complaint, the malfunction indicator light
is an Emission-Related Element of Design, and delete
tunes may prevent that light from illuminating. (JA 26
¶ 49). By addressing the malfunction lights, the
EZ Lynk Technical Support Representative thus
“fixed” the driver’s problems, thereby achieving a suc-
cessful installation of delete tunes. And the district
court altogether ignored the complaint’s other allega-
tions of technical support for defeating emissions con-
trols. (JA 32-33 ¶ 67).
    In addition, the complaint alleges that “EZ Lynk’s
own representatives have explicitly approved of the
use of the EZ Lynk System to ‘delete’ emissions con-
trols” on the EZ Lynk Forum. (JA 32 ¶ 66). As alleged,
EZ Lynk representatives “loved” posts about a driver
who “[f]inally made the jump and deleted” a truck’s
emission controls with the EZ Lynk System, and a
driver who “[c]ouldn’t be happier with my ez lynk” af-
ter the driver’s truck showed “huge improvement with
the deletes and new tunes.” (JA 32 ¶ 66). 12 All these

—————
   12 The district court minimized these allegations
by stating the EZ Lynk representatives were “not the
EZ Lynk Defendants,” a defined term that included
the EZ Lynk, SEZC, company. (JA 108, 124). But the
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actions taken together—giving delete-tune creators
access to the EZ Lynk System to help them develop
their software; helping customers install that software
to achieve its unlawful purpose of disabling emissions
controls; and expressly approving customers’ use of the
EZ Lynk System to install delete tunes on their vehi-
cles—demonstrate that EZ Lynk was much more than
a “neutral conduit” for delete tunes; it was responsible
for that content as an active participant and material
contributor to its availability and use on the EZ Lynk
System. Accusearch, 570 F.3d at 1199. “One who
builds a highway is [not] ‘responsible’ for the use of
that highway by a fleeing bank robber,” id.—but one
who consults in advance with robbers about how the
road is designed and where it goes, provides roadside
assistance to them in the aftermath of a heist, and
waves encouragement at fleeing thieves is indeed re-
sponsible and has materially contributed to the offen-
siveness of the use of the highway.
    The district court reasoned the government had not
alleged “that the EZ Lynk Defendants create delete
tunes” and had not pleaded facts sufficient to support
an inference that EZ Lynk “participated in the creation
of delete tunes.” (JA 123-24 (emphasis in original)).
Setting aside the fact that the government has no bur-
den to negate this prong of EZ Lynk’s CDA affirmative
defense, the district court misstated the applicable
standard. In order to establish immunity, EZ Lynk
—————
company is responsible for the acts of its employees.
Cf. Burlington Industries, Inc. v. Ellerth, 524 U.S. 742,
755-56 (1998).
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must show that it did not “materially contribut[e] to
the content’s alleged unlawfulness,” LeadClick, 838
F.3d at 176 (quotation marks and alterations omitted),
“specifically encourage[ ] development of what is offen-
sive about the content,” Accusearch, 570 F.3d at 1199,
or join a “collaborative effort” to develop unlawful con-
tent, Roommates.com, 521 F.3d at 1167—not merely
that it did not actually create or participate in creating
the delete tunes. Even “advising” a third party on un-
lawful content can be part of a material contribution.
LeadClick, 838 F.3d at 171, 176. As explained above,
the complaint alleges that EZ Lynk collaborated with
creators of delete tunes to ensure they worked to de-
feat emissions controls and were available on the
EZ Lynk Cloud; previewed the EZ Lynk System for de-
lete-tune creators so they could test and assist devel-
opment of the system and create delete tunes specifi-
cally for the EZ Lynk System; and generally encour-
aged the development of delete tunes by, on its own
and in cooperation with delete-tune creators, provid-
ing drivers with information and support in their in-
stallation of emissions-control defeating software.
    Taken “as a whole,” with “all reasonable infer-
ences” drawn in the government’s favor, the com-
plaint’s allegations are more than sufficient to demon-
strate that EZ Lynk materially contributed to the de-
velopment and illegal use of this software. Rich v. Fox
News Network, LLC, 939 F.3d 112, 122 n.5 (2d Cir.
2019). At the least, the complaint “raise[s] a reasona-
ble expectation that discovery will reveal evidence of
illegality” and must therefore survive EZ Lynk’s mo-
tion to dismiss. Arista Records LLC v. Doe 3, 604 F.3d
110, 120 (2d Cir. 2010) (alteration and quotation
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marks omitted). The need to proceed to discovery is
particularly acute in this case, where EZ Lynk refused
to produce information responsive to EPA’s lawful in-
formation requests, including requests seeking “infor-
mation about EZ Lynk’s business relationships with
the technicians who write and sell tunes for use with
the EZ Lynk System”; “information about EZ Lynk’s
sales of tokens to technicians to enable them to trans-
mit delete tunes to drivers (such as the quantity of to-
kens sold or to whom)”; and information about “the
methods by which EZ Lynk provides technical support
to drivers (including about how to use the EZ Lynk
System to defeat emissions controls).” (JA 38-39 ¶ 84).
Discovery will allow the development of a full record
concerning EZ Lynk’s contributions to and participa-
tion in the development and availability of delete
tunes. 13
    In the meantime, however, the government’s alle-
gations in the complaint must be accepted as true, and
all reasonable inferences must be drawn in its favor.
As alleged, EZ Lynk’s conduct “far exceeded that of
neutral assistance.” LeadClick, 838 F.3d at 176.
—————
   13  As noted above, the district court held that
EZ Lynk is subject to EPA’s information-gathering au-
thority, but did not resolve the government’s claim in
this regard. (JA 127-29). The government agreed to
dismiss that claim with prejudice in order to pursue
this appeal. But the EPA’s deprivation of information
to which it is lawfully entitled is still relevant and can
be addressed by permitting discovery in this civil ac-
tion.
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EZ Lynk participated in and encouraged the develop-
ment of delete tunes to ensure their availability to buy-
ers of the EZ Lynk System, then assisted those cus-
tomers in acquiring and installing the delete tunes, us-
ing the necessary hardware and software components
that EZ Lynk itself developed, manufactured, and
sold. The government’s claim under the Clean Air Act
seeks to hold EZ Lynk responsible for that unlawful
conduct, which is not immunized by the Communica-
tions Decency Act.

                    CONCLUSION
   The judgment of the district court should be
reversed.

Dated:    New York, New York
          November 8, 2024

                      Respectfully submitted,

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           CERTIFICATE OF COMPLIANCE
   Pursuant to Federal Rule of Appellate Procedure
32(g), the undersigned counsel hereby certifies that
this brief complies with the type-volume limitation of
the Federal Rules of Appellate Procedure and this
Court’s Local Rules. As measured by the word pro-
cessing system used to prepare this brief, there are
10,448 words in this brief.

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                     ADDENDUM
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                         Add. 1


Statutes

42 U.S.C. § 7522. Prohibited acts

(a) Enumerated prohibitions
The following acts and the causing thereof are prohib-
ited—
....
  (3)
    (A) for any person to remove or render inoperative
    any device or element of design installed on or in a
    motor vehicle or motor vehicle engine in compli-
    ance with regulations under this subchapter prior
    to its sale and delivery to the ultimate purchaser,
    or for any person knowingly to remove or render
    inoperative any such device or element of design
    after such sale and delivery to the ultimate pur-
    chaser; or
    (B) for any person to manufacture or sell, or offer
    to sell, or install, any part or component intended
    for use with, or as part of, any motor vehicle or mo-
    tor vehicle engine, where a principal effect of the
    part or component is to bypass, defeat, or render
    inoperative any device or element of design in-
    stalled on or in a motor vehicle or motor vehicle
    engine in compliance with regulations under this
    subchapter, and where the person knows or should
    know that such part or component is being offered
    for sale or installed for such use or put to such use;
    ....
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                          Add. 2

47 U.S.C. § 230. Protection for private blocking
and screening of offensive material

(a) Findings
The Congress finds the following:
  (1) The rapidly developing array of Internet and
  other interactive computer services available to in-
  dividual Americans represent an extraordinary ad-
  vance in the availability of educational and informa-
  tional resources to our citizens.
  (2) These services offer users a great degree of con-
  trol over the information that they receive, as well
  as the potential for even greater control in the future
  as technology develops.
  (3) The Internet and other interactive computer ser-
  vices offer a forum for a true diversity of political dis-
  course, unique opportunities for cultural develop-
  ment, and myriad avenues for intellectual activity.
  (4) The Internet and other interactive computer ser-
  vices have flourished, to the benefit of all Americans,
  with a minimum of government regulation.
  (5) Increasingly Americans are relying on interactive
  media for a variety of political, educational, cultural,
  and entertainment services.
(b) Policy
It is the policy of the United States—
  (1) to promote the continued development of the In-
  ternet and other interactive computer services and
  other interactive media;
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                         Add. 3

  (2) to preserve the vibrant and competitive free mar-
  ket that presently exists for the Internet and other
  interactive computer services, unfettered by Federal
  or State regulation;
  (3) to encourage the development of technologies
  which maximize user control over what information
  is received by individuals, families, and schools who
  use the Internet and other interactive computer ser-
  vices;
  (4) to remove disincentives for the development and
  utilization of blocking and filtering technologies that
  empower parents to restrict their children’s access to
  objectionable or inappropriate online material; and
  (5) to ensure vigorous enforcement of Federal crimi-
  nal laws to deter and punish trafficking in obscenity,
  stalking, and harassment by means of computer.
(c) Protection for “Good Samaritan” blocking and
screening of offensive material
  (1) Treatment of publisher or speaker
  No provider or user of an interactive computer ser-
  vice shall be treated as the publisher or speaker of
  any information provided by another information
  content provider.
  (2) Civil liability
  No provider or user of an interactive computer ser-
  vice shall be held liable on account of—
    (A) any action voluntarily taken in good faith to re-
    strict access to or availability of material that the
    provider or user considers to be obscene, lewd, las-
    civious, filthy, excessively violent, harassing, or
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                           Add. 4

    otherwise objectionable, whether or not such ma-
    terial is constitutionally protected; or
    (B) any action taken to enable or make available to
    information content providers or others the tech-
    nical means to restrict access to material described
    in paragraph (1).
....
(f) Definitions
As used in this section:
  (1) Internet
  The term “Internet” means the international com-
  puter network of both Federal and non-Federal in-
  teroperable packet switched data networks.
  (2) Interactive computer service
  The term “interactive computer service” means any
  information service, system, or access software pro-
  vider that provides or enables computer access by
  multiple users to a computer server, including spe-
  cifically a service or system that provides access to
  the Internet and such systems operated or services
  offered by libraries or educational institutions.
  (3) Information content provider
  The term “information content provider” means any
  person or entity that is responsible, in whole or in
  part, for the creation or development of information
  provided through the Internet or any other interac-
  tive computer service.
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                         Add. 5

  (4) Access software provider
  The term “access software provider” means a pro-
  vider of software (including client or server soft-
  ware), or enabling tools that do any one or more of
  the following:
    (A) filter, screen, allow, or disallow content;
    (B) pick, choose, analyze, or digest content; or
    (C) transmit, receive, display, forward, cache,
    search, subset, organize, reorganize, or translate
    content.
